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                 Seabright Orders                                                     03/21/2018 01:44 PM
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Ms. Hu,

We request that the Court enter a separate Rule 54(b) Partial Final Judgment on Defendant APT‐320,
LLC’s foreclosure motion for summary judgment and foreclosure decree. Per the Court’s Order re MSJ,
APT‐320’s motion requested and the Court granted 54(b) relief. The Order reiterates at page 16 that
foreclosure cases are bifurcated into two separately appealable parts: (1) the foreclosure decree and (2)
all other orders. Entry of a separate final judgment on the foreclosure decree also will assist the
foreclosure auction buyer in procuring title insurance for the purchased property. A proposed form of
Partial Final Judgment is attached. For ease of reference, the Order re: MSJ and Foreclosure Decree are
also attached.

Thank you for your consideration of this request.

Charlie Price

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Gin/HID/09/USCOURTS] [attachment "(238) Order re MSJ & Mot Interloc Decree.1.31.18.pdf" deleted by
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